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    1
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    7
        Attorneys for Plaintiff
    8   Innovative Sports Management, Inc.,
    9   d/b/a Integrated Sports Media

   10                         UNITED STATES DISTRICT COURT
   11                        CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
   12
        INNOVATIVE SPORTS                                  Case No.: 2:19-cv-08726-TJH-PLA
   13
        MANAGEMENT, INC., d/b/a                            PLAINTIFF’S EX PARTE
   14   INTEGRATED SPORTS MEDIA,                           APPLICATION TO VACATE ADR
                                                           MEDIATION DEADLINE;
   15                                                      MEMORANDUM OF POINTS AND
                    Plaintiff,                             AUTHORITIES
   16

   17         vs.
   18   CLAUDIA A. PORTOCARRERO, et al.,
   19
                    Defendants.
   20

   21   TO THE HONORABLE COURT, THE DEFENDANTS AND TO THEIR
   22   ATTORNEYS OF RECORD:
   23         COMES NOW the Plaintiff, Innovative Sports Management, Inc.,
   24
        d/b/a Integrated Sports Media (hereinafter “Plaintiff”), by and through counsel,
   25

   26   and pursuant to Local Rule 7-19, and hereby moves this Court Ex Parte for an
   27   Order vacating the ADR Mediation Deadline of August 31, 2020.
   28
                                 PLAINTIFF’S EX PARTE APPLICATION TO VACATE ADR
                       MEDIATION DEADLINE; MEMORANDUM OF POINTS AND AUTHORITIES – Page 1
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              This Ex Parte Application will be made on the grounds that, despite

    2   Plaintiff’s best efforts, Defendants have shown no intention of fulfilling their
    3
        obligations with respect to mediation, including participating in selecting a
    4

    5   mediator, such that it is not possible to schedule a mediation as required. In light of

    6   Defendants’ unwillingness to participate, Plaintiff does not propose a new date at
    7
        this time.
    8
    9         This Ex Parte Application is brought subsequent to several attempts to

   10   communicate with the Defendants regarding this matter, including several specific
   11
        efforts to address the requirements of meditation itself. See Riley Declaration
   12

   13   (filed concurrently herewith). Plaintiff addresses compliance with the requirements

   14   of Local Rule 7-19 in the Memorandum section below. As discussed further
   15
        below, Opposition to this Motion is presumed.
   16

   17         This Ex Parte Application will be based on the Memorandum of Points and
   18   Authorities and Declarations served and filed herewith, and such further oral and
   19
        documentary evidence or argument as may be presented at any hearing on
   20

   21   Plaintiff’s Ex Parte Application.
   22                                       Respectfully submitted,
   23

   24                                       /s/ Thomas P. Riley
        Dated: August 31, 2020              LAW OFFICES OF THOMAS P. RILEY, P.C.
   25                                       By: Thomas P. Riley
   26                                       Attorneys for Plaintiff
                                            Innovative Sports Management, Inc.,
   27                                       d/b/a Integrated Sports Media
   28
                                 PLAINTIFF’S EX PARTE APPLICATION TO VACATE ADR
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    1
                     MEMORANDUM OF POINTS AND AUTHORITIES

    2                                      INTRODUCTION
    3
              This is a commercial piracy case arising out of the alleged unlawful
    4

    5   interception, receipt and publication of Plaintiff’s October 12, 2018 Program, Chile

    6   v. Peru International Friendly Soccer Game, (hereinafter the “Program). For
    7
        purposes of this Ex Parte Application, Plaintiff requests that the August 31, 2020
    8
    9   deadline for the parties to conduct an ADR Mediation be vacated.

   10         Defendants’ contact information is:
   11
              Claudia A. Portocarrero (Defendant)
   12         15030 Ventura Blvd. No, 24
   13         Sherman Oaks, CA 91403

   14         Claudia A. Portocarrero (Defendant)
   15         20105 Lassen Street
              Chatsworth, CA 91311
   16

   17         Luis Alejandro Tipacti (Defendant)
              15030 Ventura Blvd. No. 24
   18         Sherman Oaks, CA 91403
   19
              Luis Alejandro Tipacti (Defendant)
   20         6916 Bevis Avenue
   21         Van Nuys, CA 91405
   22   The address on file with the Court for both Defendants is 15030 Ventura Blvd.,
   23
        No. 24, Sherman Oaks, CA 91403. However, it appears that this address may no
   24

   25   longer be viable. The alternate addresses noted above were ascertained
   26   independently by Plaintiff in an effort to locate Defendants; Plaintiff cannot state
   27
        with certainty that these addresses are viable. Riley Decl. ¶ 14.
   28
                                 PLAINTIFF’S EX PARTE APPLICATION TO VACATE ADR
                       MEDIATION DEADLINE; MEMORANDUM OF POINTS AND AUTHORITIES – Page 3
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    1
                                              ARGUMENT
    2

    3
              On November 6, 2019, this Court referred this case to Magistrate Judge Paul

    4   L. Abrams for discovery and settlement purposes. (Dkt. No. 15). On November 7,
    5
        2019, as required by the Court, Plaintiff filed and served a Status Report indicating
    6

    7   that it had notified Magistrate Judge Abrams of this Court’s referral. (Dkt. No. 16).

    8   On November 12, 2019, Magistrate Judge Abrams issued a Case Management
    9
        Order and Order/Referral to ADR. (Dkt. No. 17). The Case Management Order
   10

   11   required, inter alia, that Plaintiff contact the ADR Program Director to schedule a

   12   mediation within fourteen days, and that the mediation be conducted no later than
   13
        July 13, 2020. (Dkt. No. 17 at 2, ¶ 3).
   14

   15         Plaintiff contacted the ADR Program Director as required and Plaintiff was

   16   informed that that parties were to review the Court’s list of approved mediators
   17
        and then file a Stipulation Regarding Selection of Panel Mediator designating the
   18

   19   agreed upon mediator. Riley Decl. ¶ 5. On November 25, 2019, Plaintiff sent a
   20   letter to Defendants informing them of the substance of the parties’ obligations as
   21
        noted above. See Id., ¶ 6; Id. (Ex. 1). In that letter, Plaintiff provided Defendants
   22

   23   with a link to the Court’s list of mediators, and asked that they pick their top three.
   24   Id., ¶ 7. Plaintiff further informed Defendants of the July 13, 2020 deadline. Id.
   25
              On July 22, 2020, as directed by the Court, Plaintiff filed a status report and
   26

   27   accompanying Declaration of Mr. Riley in which it detailed the above efforts to
   28   communicate with Defendants regarding the scheduling of mediation. (Dkt. No.
                                 PLAINTIFF’S EX PARTE APPLICATION TO VACATE ADR
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    1
        20, et seq.). On July 23, 2020, this Court entered its Minute Order extending the

    2   mediation deadline to August 31, 2020, and the non-discovery motion deadline to
    3
        September 30, 2020. (Dkt. No. 21). At that time, the Court reminded Defendants of
    4

    5   their obligations to participate in the mediation process. (Id.).

    6         Notwithstanding this Court’s July 23, 2020 Order, Plaintiff still heard
    7
        nothing from Defendants regarding mediation. Riley Decl. ¶ 11. On August 7,
    8
    9   2020, Plaintiff sent a letter to both Defendants informing them of Plaintiff’s

   10   intention to file a motion for summary judgment and/or a motion for terminating
   11
        sanctions. Id. ¶ 12; Id., Ex. 3. As a basis for said motion, Plaintiff noted
   12

   13   Defendants “failure to provide Initial Disclosures, provide discovery responses,

   14   cooperate in scheduling mediation in the above-entitled action, and participate in
   15
        the defense of the above-entitled lawsuit, generally.” Id., Ex. 3.
   16

   17         Plaintiff’s August 7, 2020 letter was sent to Defendants’ current address of
   18   record with this Court, 15030 Ventura Blvd., No. 24, Sherman Oaks, CA 91403.
   19
        Id. ¶ 13. On August 11, 2020, after Plaintiff’s counsel checked the FedEx tracking
   20

   21   of the August 7, 2020 letter and learned that the letter was being returned as
   22   undeliverable because “Recipient Moved,” counsel sent a second letter to
   23
        Defendants at alternate addresses that an independent search revealed might be
   24

   25   viable. Id. ¶ 14; Id., Ex. 4. In the August 11, 2020 letter, which also attached a
   26   copy of the original August 7, 2020 letter, Plaintiff’s counsel again asked
   27
        Defendants to contact him to discuss Plaintiff’s anticipated motions for summary
   28
                                 PLAINTIFF’S EX PARTE APPLICATION TO VACATE ADR
                       MEDIATION DEADLINE; MEMORANDUM OF POINTS AND AUTHORITIES – Page 5
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        judgment and/or terminating sanctions. Id. ¶ 15. Counsel for Plaintiff also

    2   informed Defendants of their obligation to update their addresses with the Court.
    3
        Id.
    4

    5         In the August 11, 2020 letter, Plaintiff’s counsel also noted that this Court

    6   had extended the mediation deadline to August 31, 2020, and that “[e]ach of you
    7
        need to communicate with my office to coordinate the selection of a mediator in
    8
    9   the scheduling of the mediation to be conducted.” Id. ¶ 16. As of the filing of this

   10   Ex Parte Application, no response to the August letters has been received from
   11
        Defendant Portocarrero. Id. ¶ 17. With respect to Defendant Tipacti, although not
   12

   13   directly relevant to the instant motion, after counsel’s most recent correspondence,

   14   counsel did hear from Mr. Tipacti with respect to this case generally. Id. ¶ 18.
   15
        While Plaintiff does not have independent corroboration of Mr. Tipacti’s
   16

   17   representations, Mr. Tipacti takes the position that he did not file the Answer
   18   attributed to him in this case (found at Docket Entry No. 13). Riley Decl. ¶ 18.
   19
              In view of the foregoing, Plaintiff respectfully submits that the good faith
   20

   21   and notice obligations of Local Rule 7-19.1 have been satisfied. In the alternative,
   22   and if the Court were to find that a portion of Local Rule 7-19.1 has not been
   23
        satisfied, Plaintiff requests that the Court exercise its power under Local Rule 7-
   24

   25   19.2 to waive the requirements of Local Rule 7-19.1. Plaintiff has made significant
   26   efforts to communicate with Defendants, including new efforts to address the
   27
        necessity of mediation. In addition, this Court has reminded Defendants of their
   28
                                 PLAINTIFF’S EX PARTE APPLICATION TO VACATE ADR
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    1
        obligations, including cooperation with Plaintiff’s counsel. (Dkt. No. 21). Under

    2   the circumstances, it would be an unnecessary waste of time and resources, both of
    3
        Plaintiff and any potential mediator, to require mediation at this time.
    4

    5         Opposition to this Motion is presumed.

    6

    7
              Wherefore, for the reasons set forth herein, Plaintiff respectfully requests
    8
    9   that this Court grant Plaintiff’s Ex Parte Application to Vacate ADR Mediation

   10   Deadline, and award such other relief as may be just and proper.
   11
                                            Respectfully submitted,
   12

   13                                       /s/ Thomas P. Riley
   14   Dated: August 31, 2020              LAW OFFICES OF THOMAS P. RILEY, P.C.
                                            By: Thomas P. Riley
   15                                       Attorneys for Plaintiff
   16                                       Innovative Sports Management, Inc. d/b/a
                                            Integrated Sports Media
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                                 PLAINTIFF’S EX PARTE APPLICATION TO VACATE ADR
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    1
                                        PROOF OF SERVICE

    2         I declare that:
    3
               I am employed in the County of Los Angeles, California. I am over the age
    4   of eighteen years and not a party to the within cause; my business address is First
    5   Library Square, 1114 Fremont Avenue, South Pasadena, California 91030. I am
        readily familiar with this law firm’s practice for collection and processing of
    6   correspondence/documents for mail in the ordinary course of business.
    7         On August 31, 2020, I caused to serve the following document entitled:
    8
              PLAINTIFF’S EX PARTE APPLICATION TO VACATE ADR
    9         MEDIATION DEADLINE; MEMORANDUM OF POINTS AND
              AUTHORITIES
   10

   11         On all parties referenced by enclosing a true copy thereof in a sealed
        envelope with postage prepaid and following ordinary business practices, said
   12
        envelope was addressed to:
   13
              Claudia A. Portocarrero (Defendant)
   14
              15030 Ventura Blvd No, 24
   15         Sherman Oaks, CA 91403
   16
              Claudia A. Portocarrero (Defendant)
   17         20105 Lassen Street
              Chatsworth, CA 91311
   18

   19         Luis Alejandro Tipacti (Defendant)
              15030 Ventura Blvd No. 24
   20
              Sherman Oaks, CA 91403
   21
              Luis Alejandro Tipacti (Defendant)
   22
              6916 Bevis Avenue
   23         Van Nuys, CA 91405
   24
               The fully sealed envelope with pre-paid postage was thereafter placed in our
   25   law firm’s outbound mail receptacle in order that this particular piece of mail
        could be taken to the United States Post Office in South Pasadena, California later
   26
        this day by myself (or by another administrative assistant duly employed by our
   27   law firm).
   28
                                 PLAINTIFF’S EX PARTE APPLICATION TO VACATE ADR
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    1
               I declare under the penalty of perjury pursuant to the laws of the United
        States that the foregoing is true and correct and that this declaration was executed
    2   on August 31, 2020, at South Pasadena, California.
    3

    4
        Dated: August 31, 2020                             /s/ Isabella Fernandez
                                                           ISABELLA FERNANDEZ
    5

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                                 PLAINTIFF’S EX PARTE APPLICATION TO VACATE ADR
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